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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATIONATRICIA DB. how AiG)

CLERK OF THE PANEL
IN RE SUPER-PREMIUM ICE CREAM DISTRIBUTION ANTITRUST LITIGATION

TRANSFER ORDER

This litigation presently consists of three actions pending in the
Northern Distrigt of California and one action pending in the District
of New Jersey.— Before the Panel is a motion, pursuant to 28 U.S.C.
§1407, by Perché No! Gelato, Inc. (Perché) for an order transferring
the California actions to the District of New Jersey for coordinated
or consolidated pretrial proceedings with the action filed there.
Double Rainbow Gourmet Ice Cream, Inc. (Double Rainbow), a party to
two of the California actions, supports centralization in the District
of New Jersey. The Haagen-Dazs Company (Haagen-Dazs), which is a
party to all actions, its chairman, its parent (The Pillsbury
Company), and one other party to one of the California actions oppose
transfer.

On the basis of the papers filed and the hearing held, the Panel
finds that these four actions involve common questions of fact, and
that centralization under Section 1407 in the Northern District of
California will best serve the convenience of the parties and

i witnesses and promote the just and efficient conduct of the
litigation. All actions involve common allegations concerning 1) the
legality of an exclusive dealing policy adopted by Haagen-Dazs with
respect to the distribution of super-premium ice cream, and ii) the
means and extent of the policy's enforcement. Centralization under
Section 1407 is thus necessary in order to ensure that duplication of
discovery and inconsistent pretrial rulings will be avoided, and that
the resources of the parties, their counsel and the judiciary will be
conserved.

While the District of New Jersey, where Haagen-Dazs is
headquartered, could be considered an appropriate transferee forum for
this litigation, on balance we are persuaded that the Northern
District of California is the preferable forum. We note that 1) three
of the four actions are already pending there, 2) Perché and Double

V/ One of the California actions, Double Rainbow Gourmet Ice Cream,

 

Ine. v. The Pillsbury Company, et al., C.A. No. C86-853-CAL, was
originally filed in the District of Minnesota. On February 14, 1986,
subsequent to the filing of the motion now before the Panel, the
action Rai yransferred to the Northern District of California under 28
U.S.C. §1404.

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Rainbow, one or the other of which is the plaintiff or defendant in

’ all four actions, are headquartered within the district, and 3) the
New Jersey action is presently ‘stayed pending the outcome of the
California action involving Perché.

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IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. 1407, the
action listed on the following Schedule A and pending in, the District
of New Jersey be, and the same hereby is, transferred to the Northern
District of California and, with the consent of that court, assigned
to the Honorable Charles A. Legge for coordinated or consolidated
pretrial proceedings with the actions listed on Schedule A and pending
in that district. a

FOR THE PANEL:

Andrew A. Caffrey
Chairman

 

 
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SCHEDULE A
MDL-682 -- In re Super-Premium Ice Cream Distribution Antitrust

' Litigation

Northern District of California

The Haagan-Dazs Company, Inc., et al. v. Perché Nol Gelato,
inc., C.A. No. C-85-5819-CAL

The Haagan-Dazs Company, Inc. v. Double Rainbow Gourmet Ice
Cream, Inc., C.A. No. C-85-6553-CAL

Double Rainbow Gourmet Ice Cream, Inc. v. The Pillsbury
Company, et al., C.A. No. C-36-853-CAL ’

District of New Jersey |

Perché Nol Gelato, Inc. v., The Haagen-Dazs Company, Inc., et
al.,; C.A. No. 55-4061
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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION |: :.

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IN RE SUPER-PREMIUM ICE CREAM DISTRIBUTION ANTITRUST LITIGATION

Ben & Jerry's Homemade, Inc. v. The Haagen-Dazs Co., Inc., et al.,
D. Massachusetts, C.A. No. B7-2755-CG

ORDER DEEMING MOTION WITHDRAWN

Defendants Haagen-Dazs Co., Inc., and The Pillsbury Co. filed a
motion for transfer of the above-referenced action pursuant to 28
U.S.C. §1407 to the United States District Court for the Northern
District of California. Subsequently, defendants Haagen-Dazs Co.,
Inec., and The Pillsbury Co. have entered into a stipulation with the
plaintiff Ben & Jerry's Homemade, Inc., in which defendants agreed to
withdraw the motion to transfer the above-referenced action.
Accordingly, defendants now approach the Panel for permission to
withdraw their Section 1407 motion.

IT IS ORDERED that the defendants' request to withdraw their
motion is granted, and that the motion be, and the same hereby is,
DEEMED WITHDRAWN.

FOR THE PANEL:

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Andrew A. Caffrey
Chairman

 

 
